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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                               ) Chapter 11
In re:
                                               )
                                               ) Case No. 19-11292 (KG)
INSYS THERAPEUTICS, INC., et al.,
                                               )
                                               ) (Jointly Administered)
                        Debtors.
                                               )

                        NOTICE OF APPEARANCE AND DEMAND FOR
                          SERVICE OF NOTICES AND PLEADINGS

         PLEASE TAKE NOTICE that counsel for Ronald D. Stracener, F. Kirk Hopkins, Jordan

Chu, Amel Eiland, Nadja Streiter, Michael Konig, Eli Medina, Barbara Rivers, Marketing Services

of Indiana, Inc., Glenn Golden, Gretta Golden, Michael Christy, Edward Grace, Debra Dawsey,

Darcy Sherman, Kimberly Brand, Lou Sardella, Michael Klodzinski, Kevin Wilk, Heather Enders,

Jason Reynolds, MSI Corporation, Deborah Green-Kuchta, W. Andrew Fox, Dora Lawrence,

Michael Lopez, Zachary R. Schneider, in their individual capacities and as representatives of the

putative classes of claimants they propose to represent , parties in interest in the captioned

bankruptcy case, pursuant to, inter alia, Bankruptcy Rules 2002, 3017, 9007 and 9010, and 11

U.S.C. §§ 102(1) and 342, demand that copies of all notices given or required to be given in this

case and all papers served or required to be served in this case, be given to and served upon the

undersigned:

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       PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules specified above, but also includes, without

limitation, disclosure statements, plans of reorganization, operating reports, orders and notices of

any application, motion, petition, pleading, request, complaint or demand, answering or reply

papers, memoranda or briefs, and any other document brought before the Court with respect to this

case or any proceeding in this case, whether formal or informal, written or oral, and whether

transmitted or conveyed by mail, courier, facsimile, telephone, electronic medium or otherwise.

       Neither this Notice of Appearance, any subsequent appearance (by pleading or otherwise),

nor any participation in or in connection with this case is intended to or should be deemed to waive

any (i) right to have final orders in non-core matters entered only after de novo review by a higher
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court; (ii) right to trial by jury in any proceeding so triable in this or any related case, controversy or

proceeding, or any right to arbitration; (iii) right to have the reference withdrawn in any matter

subject to mandatory or discretionary withdrawal; (iv) right to contest jurisdiction or appropriate

venue in this case or any proceeding related to this case; or (v) other rights, claims, actions,

defenses, setoffs or recoupments which exist pursuant to agreement or in law or in equity, all of

which are expressly reserved.

       PLEASE TAKE FURTHER NOTICE that the counsel listed above request to be added to

any official service list for notices of all contested matters or other proceedings in this case.


Date: June 13, 2019                            /s/ Joseph H. Huston, Jr.
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                                       Services of Indiana, Inc., Glenn Golden, Gretta
                                       Golden, Michael Christy, Edward Grace, Debra
                                       Dawsey, Darcy Sherman, Kimberly Brand, Lou
                                       Sardella, Michael Klodzinski, Kevin Wilk, Heather
                                       Enders, Jason Reynolds, MSI Corporation, Deborah
                                       Green-Kuchta, W. Andrew Fox, Dora Lawrence,
                                       Michael Lopez, Zachary R. Schneider, and the Putative
                                       Classes




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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on June 13, 2019, he caused a true copy of the foregoing

Notice of Appearance and Demand for Service of Notices and Pleadings to be served

electronically upon all parties in interest registered to receive notice through the Court’s

CM/ECF System.

                                                  /s/ Joseph H. Huston, Jr.
                                                  Joseph H. Huston, Jr.




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